8:03-cr-00290-RFR-SMB   Doc # 482   Filed: 03/26/12   Page 1 of 1 - Page ID # 4362



                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
STERLING J. McKOY,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion
for additional time to submit response (Filing No. 479).                The

Court finds the motion should be granted.             Accordingly,

           IT IS ORDERED that plaintiff motion is granted;

plaintiff shall have until April 11, 2012, to file a reply to

defendant’s brief in support of his motion to reduce sentence.

           DATED this 26th day of March, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
